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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

JOHN STEVEN TEAGUE,                  :    CASE NO. 1:21-CV-318
                                     :
     PLAINTIFF,                      :    JUDGE BARRETT
                                     :
VS.                                  :
                                     :
JAY NOBLE, et al.                    :
                                     :
     DEFENDANTS.                     :
       DEFENDANTS, JAY NOBLE AND VILLAGE OF BETHEL, OHIO’S
                  NOTICE OF SUPPLEMENTAL AUTHORITY

       COME NOW Defendants, Jay Noble and the Village of Bethel, Ohio, by and through

counsel, and hereby offer notice of supplemental authority in support of their response opposition

to Plaintiff’s Motion to Compel and Motion for Protective Order [Doc 21].


Executive Session Privilege

       The following case was decided by the Supreme Court of Ohio subsequent to the filing of

Defendant’s response in opposition/Motion for Protective Order:


                  State ex rel. Hicks v. Clermont County Board of Commissioners, 2022-Ohio-
                   4237, 2022 WL 17345561

                      o Presumption of regularity exists when a public body is in executive
                        session
   Case: 1:21-cv-00318-MRB Doc #: 31 Filed: 01/12/23 Page: 2 of 2 PAGEID #: 359




                                              Respectfully submitted,

                                              /s/ Lawrence E. Barbiere
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                                              Attorneys for Defendants Jay Noble & Village of
                                              Bethel, Ohio

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed this 12th day of
January, 2023 using the Clerk of Court’s CM/ECF electronic filing system which will send
notice of such filing to all counsel of record.




                                              /s/ Lawrence E. Barbiere
                                              Lawrence E. Barbiere (0027106)




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